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                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


JAMESON TAYLOR ANDERSON,
ROBERT DEAN ANDERSON, and              CONSOLIDATED CASES
ROGER MALDONADO,                       PURSUANT TO FED. R. CIV. P. 42

      Plaintiffs,
                                       Civil Action File No.
            v.
                                       1:19-cv-05582-SCJ
USI INSURANCE SERVICES LLC,

      Defendant.


USI INSURANCE SERVICES LLC,

      Plaintiff,                       Civil Action File No.

            v.                         1:20-cv-02490-SCJ

SOUTHEAST SERIES OF
LOCKTON COMPANIES, LLC,

      Defendant.


                           SCHEDULING ORDER

      This matter is before the Court upon the Joint Motion for Entry of

Scheduling Order (the “Joint Motion”) filed by all parties to these consolidated

cases, specifically USI Insurance Services LLC, Jameson Taylor Anderson,

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Robert Dean Anderson, Roger Maldonado, and Southeast Series of Lockton

Companies, LLC. Having reviewed the Joint Motion, based on the consent of all

parties to these consolidated cases, and for good cause shown, the Court GRANTS

the Joint Motion and sets the following schedule, applicable to the consolidated

discovery period in these two cases:

      1.    Plaintiffs Jameson Taylor Anderson, Robert Dean Anderson, and

Roger Maldonado (collectively, “Plaintiffs”) may not serve any new requests for

production, interrogatories, or subpoenas for documents on Defendant USI

Insurance Services LLC (“USI”) after August 3, 2020, unless it pertains to: (i)

business that is transferred away from USI after August 1, 2020; or (ii) documents

that are newly produced or newly identified in depositions, or new information

revealed in depositions.   Similarly, USI may not serve any new requests for

production, interrogatories, or subpoenas for documents on Plaintiffs after August

3, 2020, unless it pertains to: (i) business that is transferred away from USI after

August 1, 2020; or (ii) documents newly produced or newly identified in

depositions, or new information revealed in depositions.      Notwithstanding the

foregoing, either Plaintiffs or USI may serve written discovery requests on each

other relating to new discovery requests served between July 27, 2020, and August

3, 2020, but any such requests must be served no later than August 7, 2020.

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      2.     All document productions relating to discovery requests served prior

to July 24, 2020 in Case No. 1:19-cv-05582-SCJ (“the 2019 Case”) shall be

completed by August 24, 2020. All document productions relating to discovery

requests served after July 24, 2020 in Case No. 1:19-cv-05582-SCJ shall be

completed within the time permitted by law.

      3.     Discovery in Case No. 1:20-cv-02490-SCJ (“the 2020 Case”) opened

on July 29, 2020.

      4.     The parties may begin taking depositions in the consolidated

discovery period for the 2019 Case No. and the 2020 Case starting on September

10, 2020.

      5.     Discovery in the consolidated discovery period for the 2019 Case and

the 2020 Case shall close on December 7, 2020. All discovery must be completed

on or before this date.

      6.     Unless agreed to by all parties, USI must seek leave of Court if it

seeks to take more than 10 depositions (total in the combined cases), and Plaintiffs

and Southeast Series of Lockton Companies, LLC must seek leave of Court if they

collectively seek to take more than 10 depositions (total in the combined cases).

The parties reserve their respective positions regarding the number of depositions

in this matter and reserve the right to move the Court for additional depositions,

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and to oppose any such request.

      7.    Any dispositive motion in the 2019 Case or the 2020 Case must be

filed by the later of thirty (30) days after the close of discovery or (due to the

holidays in December and January) January 15, 2021.

                      4thday of August, 2020.
      SO ORDERED this __



                                             s/Steve C. Jones
                                            ______________________________
                                            The Honorable Steve C. Jones
                                            United States District Judge




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